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                                          UNITED STATES DISTRICT COURT
                                                    FOR THE
                                              DISTRICT OF ARIZONA

Jennifer A. Richards,                             )
                                                  )
                    Plaintiff,                    )           MDL Case No. 2:15-md-02641-DGC
                                                  )
                        v.                        )           Civil Action No. CV-16-01749-PHX-DGC
                                                  )
C. R. Bard, Inc., et al.,                         )
                                                  )
                  Defendant.                      )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc.

Date:    June 15, 2016                                /s/ Richard B. North, Jr.
                                                      Attorney's signature

                                                      Richard B. North, Jr. (Ga. Bar No. 545599)
                                                      Printed name and bar number

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